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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SELLERS CAPITAL, LLC, et al.                     )
                                                 )
                          Plaintiffs,            )
                                                 )       Case No. 15 CV 07644
                          v.                     )
                                                 )
ARMADA GROUP, GP, INC., et al,                   )
                                                 )
                          Defendants.            )
                                                 )


DEFENDANT ARMADA GROUP, GP, INC.’S, ARMADA ENTERPRISES, INC.’S, AND
    GEORGE WIGHT’S MOTION TO COMPEL AND EXTEND DISCOVERY

       NOW COMES ARMADA GROUP, GP, INC., ARMADA ENTERPRISES, INC., AND

GEORGE WIGHT, by and through their attorneys, The Agrawal Firm, LLC, and, in support of

their Motion to Compel (pursuant to Federal Rules of Civil Procedure 37 (a)) and Extend

Discovery, state as follows:


   1. The discovery deadline for this matter was previously set by the court for April 21, 2017.

   2. On March 17, 2017, Defendants conducted the deposition of Mark Sellers. During the

deposition and immediately thereafter, Defendants’ counsel requested a copy of the Sellers

Capital, LLC’s Operating Agreement.

   3. On April 6, 2017, immediately following the deposition of George Wight, Defendants’

counsel again requested a copy of the Operating Agreement.

   4. On both occasions, Plaintiffs’ counsel expressed concerns as to the relevance of the

request. However, he did not object to timeliness on either occasion. In fact, Plaintiffs’ counsel,

on April 6, 2017, requested that Defendants’ counsel make the request in writing to further lay

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out the request and the basis for same.

     5. On April 18, 2017, Defendants issued their Second Set of Requests for Production to

Plaintiffs along with an email explaining the relevancy of same. See electronic mail from Rishi

Agrawal to Adam Hirsch and Second Set of Requests for Production attached as Exhibit A.

     6. After not having received a response, Defendants’ counsel sent a follow-up email on

April 20, 2017. See electronic mail from Rishi Agrawal to Adam Hirsch attached as Exhibit B.

     7. After still not having heard from Plaintiffs, Defendants’ counsel telephoned Plaintiffs’

counsel on April 21, 2017. Plaintiffs’ counsel explained that the earlier emails were sent to his

spam folder and that is why he did not respond earlier. Plaintiffs’ counsel further stated on the

telephone and via email that they were standing on their objection based on relevancy and further

objecting on the grounds of timeliness pursuant to Local Rule 16.1(4). See electronic email from

Adam Hirsch to Rishi Agrawal attached as Exhibit C.

     8. Defendants’ counsel responded to this email stating that the original request for an

Operating Agreement was made on March 17, 2017 and therefore well within the confines of

Local Rule 16.1(4). See electronic mail from Rishi Agrawal to Adam Hirsch attached as Exhibit

D.

     9. Defendants’ counsel has made multiple attempts, in person, by phone, and by

correspondence to resolve this discovery matter.

     10. In Defendants’ Second Set of Requests for Production, in addition to the Operating

Agreement, Defendants seek any subscription or investor related agreements between Sellers

Capital, LLC and its investors. The purpose of this request is to obtain documents that may

contain provisions requiring what actions Sellers Capital, LLC would have been required to take

with the funds should they have been received by Armada Group, GP, Inc. If, for example, these

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documents required Sellers Capital, LLC to disburse all, or some, of the funds to its investors,

then this would significantly impact the amount of damages Plaintiffs could claim in this matter.

   11. As noted above, the request for the Operating Agreement was made well within the

confines of Local Rule 16.1(4). Plaintiffs had 35 days to respond to that request. The additional

requests made on April 18, 2017, were clerical in nature and could also be responded to in a

short amount of time.

   12. Furthermore, the request for these documents was made specifically based on the

testimony of Mr. Sellers at his deposition. These are standard supplemental requests made

pursuant to deposition testimony and not unreasonable given the timeline.

   13. The nature of Defendants requests do not require any additional written or oral discovery

and therefore do not prejudice the Plaintiffs or cause any undue delay in this matter.



       WHEREFORE, Defendants respectfully request the Court to grant its Motion to Compel

and Extend Discovery, and for any further relief the court deems just.



                                                     By:__/s/ Rishi Agrawal____________
                                                               Rishi Agrawal
                                                             Attorney for Defendants


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                             CERTIFICATION OF ATTORNEY


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       I, RISHI AGRAWAL, an attorney on behalf of all Defendants, hereby certify, pursuant to

Federal Rule of Civil Procedure 37(a), that we have made multiple efforts, in person, by phone,

and through correspondence, to resolve the discovery dispute addressed in Defendants’ Motion

to Compel.




                               CERTIFICATE OF SERVICE

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       I, RISHI AGRAWAL, hereby certify that on April 21, 2017, that I caused to be

electronically filed with the Clerk of the United States District Court for the Northern District of

Illinois, Eastern Division, the above Motion to Compel and Extend Discovery, using the

CM/ECF system, which shall send notice of this filing to all counsel of record.



                                                      By:_/s/ Rishi Agrawal_______
                                                      Attorney for Defendants




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